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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

 PRESIDENT AND FELLOWS OF                          *
 HARVARD COLLEGE,                                  *
                                                   *
                Plaintiff,                         *
                                                   *
                v.                                 *       Civil Action No. 25-cv-11472-ADB
                                                   *
 UNITED STATES DEPARTMENT OF                       *
 HOMELAND SECURITY, et al.,                        *
                                                   *
                Defendants.                        *


                                MEMORANDUM AND ORDER


BURROUGHS, D.J.

       Plaintiff, the President and Fellows of Harvard College (“Plaintiff” or “Harvard”), seeks a

preliminary injunction enjoining the United States Department of Homeland Security, Kristi

Noem, United States Immigration and Customs Enforcement, Todd Lyons, Student and

Exchange Visitor Program, James Hicks, United States Department of Justice, Pamela Bondi,

United States Department of State, and Marco Rubio (collectively, “Defendants”) from

implementing or enforcing a presidential proclamation entitled “Enhancing National Security by

Addressing Risks at Harvard University” (the “Proclamation”). The Proclamation suspends “the

entry of any alien into the United States as a nonimmigrant to pursue a course of study at

Harvard University under § 101(a)(15)(F) or § 101(a)(15)(M) of the INA, 8 U.S.C.

§§ 1101(a)(15)(F) or 1101(a)(15)(M), or to participate in an exchange visitor program hosted by

Harvard University under § 101(a)(15)(J) of the INA, 8 U.S.C. § 1101(a)(15)(J).”

       In sum, Plaintiff alleges that the Proclamation is unlawful under the governing statute, 8

U.S.C. § 1182(f) and further asserts that, even if otherwise lawful under the statute, the
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  Proclamation must be enjoined because it is part of an unconstitutional course of retaliatory

  conduct directed at Harvard in response to its exercise of its First Amendment rights, is

  unconstitutional viewpoint discrimination, and violates Harvard’s equal protection rights.

  Defendants respond that the Proclamation is a proper use of the President’s broad legal authority

  to exclude aliens or classes of aliens, the Proclamation is unrelated to Harvard’s First

  Amendment-protected activity, and the Proclamation does not violate Harvard’s equal protection

  rights. For the foregoing reasons, Plaintiff’s motion for a preliminary injunction is GRANTED.

I.       BACKGROUND

             A.      Factual Background

         In considering a preliminary injunction, “[t]he Court may accept as true ‘well-pleaded

  allegations [in the complaint] and uncontroverted affidavits.’” Am. Inst. for Foreign Study, Inc.

  v. Fernandez-Jimenez, 468 F. Supp. 3d 414, 419 (D. Mass. 2020) (quoting Rohm & Haas Elec.

  Materials, LLC v. Elec. Cirs., 759 F. Supp. 2d 110, 114 n.2 (D. Mass. 2010)), aff’d, 6 F.4th 120

  (1st Cir. 2021). “Exhibits attached to the complaint are properly considered part of the pleading

  for all purposes.” Costa v. Zurich Am. Ins. Co., No. 23-cv-11594, 2024 WL 1093002, at *1 (D.

  Mass. Mar. 13, 2024).

                       1.   The Administration’s Rhetorical Campaign Against Harvard

         On October 7, 2023, Hamas, a Palestinian terrorist organization, conducted a violent

  attack on Israeli citizens. [ECF No. 54 (“Amended Complaint” or “Am. Compl.”) ¶ 109]. This

  has led to an ongoing war between Israel and Hamas, and since October 7, many universities

  have experienced large-scale protests against the war. [Id.]

         On February 3, 2025, the government announced the formation of the Task Force to

  Combat Anti-Semitism (the “Task Force”). [Am. Compl. ¶¶ 17, 111]. On February 28, 2025,


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the Task Force announced that it was investigating ten universities regarding antisemitic

incidents in the wake of these protests. [Id. ¶ 113]. On March 31, 2025, the Task Force sent

Harvard a memorandum indicating its intent to review approximately $8.7 billion in federal

research grants because Harvard had failed to “curb or combat anti-Semitic harassment.” [Id.

¶ 114]. A few days later, on April 3, Harvard received an additional letter from the General

Services Administration (“GSA”), the Department of Health and Human Services (“HHS”), and

the Department of Education (“DoE”) setting forth reforms “the government view[ed] as

necessary for Harvard to implement to remain a responsible recipient of federal taxpayer

dollars.” [Id. ¶ 115].

       The April 3 memorandum was superseded by a letter, dated April 11, 2025 (the “April 11

Letter”), which dictated specific conditions required for Harvard to “maintain [its] financial

relationship with the federal government.” [Am. Compl. ¶ 116 (alteration omitted)]. These

conditions included, among other things:

           •   “reducing the power held by faculty (whether tenured or untenured) and

               administrators more committed to activism than scholarship”;

           •   “reform[ing] its recruitment, screening, and admissions of international students

               to prevent admitting students hostile to the American values and institutions

               inscribed in the U.S. Constitution and Declaration of Independence”;

           •   “commission[ing] an external party, which shall satisfy the federal government as

               to its competence and good faith, to audit the student body, faculty, staff, and

               leadership for viewpoint diversity, such that each department, field, or teaching

               unit must be individually viewpoint diverse”;




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           •   “[reforming e]very department or field found to lack viewpoint diversity . . . by

               hiring a critical mass of new faculty within that department or field who will

               provide viewpoint diversity”;

           •   “[reforming] every teaching unit found to lack viewpoint diversity . . . by

               admitting a critical mass of students who will provide viewpoint diversity”;

           •   “commission[ing] an external party, which shall satisfy the federal government as

               to its competence and good faith, to audit [certain] programs and departments that

               most fuel antisemitic harassment or reflect ideological capture”;

           •   “shutter[ing] all diversity, equity, and inclusion (DEI) programs, offices,

               committees, positions, and initiatives, under whatever name, and stop[ing] all

               DEI-based policies, including DEI-based disciplinary or speech control policies,

               under whatever name [and] demonstrat[ing] that it has done so to the satisfaction

               of the federal government”; and

           •   “end[ing] support and recognition of those student groups or clubs that engaged in

               anti-Semitic activity since October 7th, 2023, including the Harvard Palestine

               Solidarity Committee, Harvard Graduates [sic] Students 4 Palestine, Law

               Students 4 Palestine, Students for Justice in Palestine, and the National Lawyers

               Guild.”

[ECF No. 1-9 at 2–6].

       On April 14, Harvard President Alan Garber wrote a letter to the Harvard Community

repudiating the demands made in the April 11 Letter. [Am. Compl. ¶ 118]. His letter rebuked

the “direct governmental regulation of the ‘intellectual conditions’ at Harvard” and stated,

among other things, that the April 11 Letter went “beyond the power of the federal

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government[,] violate[d] Harvard’s First Amendment rights[,] exceed[ed] the statutory limits of

the government’s authority,” and “threaten[ed] [Harvard’s] values as a private institution devoted

to the pursuit, production, and dissemination of knowledge.” [ECF No. 1-10 at 2–3]. President

Garber’s letter ultimately forcefully rejected the April 11 Letter’s “assertions of power,

unmoored from the law, to control teaching and learning at Harvard and to dictate how [it]

operate[s].” [Id. at 3].

        The Administration reacted quickly and relentlessly. Within hours of President Garber’s

letter denouncing the Administration’s conduct and demands, the Task Force announced a multi-

billion-dollar grant funding freeze. [Am. Compl. ¶ 120]. By the next day, President Trump had

joined the conversation, posting on his social media website, Truth Social: “Perhaps Harvard

should lose its Tax Exempt Status and be Taxed as a Political Entity if it keeps pushing political,

ideological, and terrorist inspired/supporting ‘Sickness?’ Remember, Tax Exempt Status is

totally contingent on acting in the PUBLIC INTEREST!” [Id. ¶ 122]. He followed this on April

16 with a longer Truth Social post aimed at Harvard’s views, its faculty and their views, and

presumed political leanings, stating in part:

        [Harvard] hired, from New York (Bill D) and Chicago (Lori L), at ridiculously high
        salaries/fees, two of the WORST and MOST INCOMPETENT mayors in the
        history of our Country, to “teach” municipal management and government. These
        two Radical Left fools left behind two cities that will take years to recover from
        their incompetence and evil. Harvard has been hiring almost all woke, Radical Left,
        idiots and “birdbrains” who are only capable of teaching FAILURE to students and
        so-called “future-leaders.” . . . Many others, like these Leftist dopes, are teaching
        at Harvard, and because of that, Harvard can no longer be considered even a decent
        place of learning, and should not be considered on any list of the World’s Greatest
        Universities or Colleges. Harvard is a JOKE, teaches Hate and Stupidity, and
        should no longer receive Federal Funds.

[Id. ¶ 123].




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        Within hours of the President’s Truth Social post, Secretary of Homeland Security Kristi

Noem sent a letter to Harvard regarding the Student Exchange Visitor Program (“SEVP”), which

is discussed in more detail infra, demanding voluminous documents from Harvard and

threatening to revoke Harvard’s ability to host international students if Harvard did not comply

with a set demands, all seemingly outside of the usual regulatory process. [Am. Compl. ¶ 124].

This letter was accompanied by a press release that tied the demand for information and

accompanying threats to Harvard’s alleged adoption of “radical ideology” and permissive

approach to “anti-American, pro-Hamas ideology poisoning its campus and classrooms.” [ECF

No. 1-17 at 2]. The press release also directly tied the SEVP compliance issue to the

Administration’s prior actions against Harvard and the President’s Truth Social posts, stating:

“This action follows President Donald J. Trump’s decision to freeze $2.2 billion in federal

funding to Harvard University, proposing the revocation of its tax-exempt status over its radical

ideology.” [Id.]

        The Administration’s focus on Harvard continued. On April 20, 2025, the

Administration threatened to revoke an additional $1 billion of funding. [Am. Compl. ¶ 131].

And on April 24, 2025, President Trump again took to Truth Social, writing that:

        Harvard is an Anti-Semitic, Far Left Institution, as are numerous others, with
        students being accepted from all over the World that want to rip our Country apart.
        The place is a Liberal mess, allowing a certain group of crazed lunatics to enter and
        exit the classroom and spew fake ANGER AND HATE. It is truly horrific! Now,
        since our filings began they act like they are all “American Apple Pie.” Harvard is
        a threat to Democracy.

[Id. ¶ 132].

        The President reiterated many of his criticisms at a public cabinet meeting on April 30,

2025, where he stated that Harvard was “scamming the public and hiring people like DeBlasio

and Lori Lightfoot who are certainly two of the worst mayors in the history of our country,
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paying them a fortune on salary, and having them teach our children how to manage cities and

how to manage government.” [Am. Compl. ¶ 134 (alterations omitted)]. And during an

exchange between DoE Secretary Linda McMahon, President Trump, and Secretary Noem at the

same meeting, Secretary McMahon stated: “When we went back to [Harvard] to say we’d

welcome them back to the negotiating table, their response was a lawsuit . . . We’re staying

tough with them.” [Id.] President Trump replied that “[t]he students they have, the professors

they have, the attitude they have, is not American.” [Id. (emphasis omitted)].

       On May 2, 2025, President Trump again threatened Harvard’s 501(c)(3) status on Truth

Social. [Am. Compl. ¶ 147]. Three days later, on May 5, 2025, Secretary McMahon sent a letter

to Harvard stating it would no longer receive federal grants, stating specifically:

       [Harvard’s] incomprehensible failure becomes more understandable after
       reviewing Harvard’s management. The Harvard Corporation, which is supposed
       to competently and professionally manage Harvard’s vast academic, financial, and
       physical resources, is run by strongly left-leaning Obama political appointee Penny
       Pritzker, a Democrat operative, who is catastrophic and running the institution in a
       totally chaotic way. Harvard alumnus and highly successful hedge fund manager
       Bill Ackman noted that, under her leadership, Harvard has become a “political
       advocacy organization for one party.” . . . [Universities] should not be incubators
       of discrimination that encourage resentment and instill grievance and racism into
       our wonderful young Americans.

       [ECF No. 1-21 at 2–3]. Secretary McMahon’s letter went on to reiterate the

Administration’s commitment to the demands set forth in the April 11 Letter, stating that the

“priorities have not changed.” [Id. at 3–4]. Secretary McMahon in an interview two days later

asked, presumably rhetorically, “Are they vetting professors that they’re hiring to make sure that

they’re not teaching ideologies, but that they’re teaching subject matter?” [Am. Compl. ¶ 149].

       As discussed further infra, on May 22, 2025, after much back and forth regarding the

earlier records requests, the Department of Homeland Security (“DHS”) sent Harvard a notice

that it was revoking Harvard’s SEVP certification, effective immediately (the “SEVP Revocation
                                                 7
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Letter”). [Am. Comp. ¶¶ 150–58]. The following day, Harvard filed a complaint as well as a

motion for a TRO against the enforcement of the SEVP Revocation Letter with this Court, [ECF

No. 4], which the Court granted the same day, [ECF No. 11]. The Court also scheduled a status

conference for May 27, 2025, [ECF No. 12], and a preliminary injunction hearing for May 29,

2025, [ECF No. 13].

       On May 26, 2025, the day before the scheduled status conference, President Trump

posted twice more on Truth Social about possibly cutting an additional $3 billion of funding to

Harvard and referencing the present litigation. [Am. Compl. ¶¶ 182–83]. Public reports

surfaced a few days later that, on May 28, 2025, the evening before this Court’s preliminary

injunction hearing, the White House convened government officials from “nearly a dozen

agencies” to brainstorm additional actions the Administration could take against Harvard. [ECF

No. 54-3 at 3]. At a press conference that day, President Trump said that “Harvard is treating

our country with great disrespect and all they’re doing is getting in deeper and deeper and

deeper.” [Id.]. Offering comment on the meeting to Politico, White House spokesperson

Harrison Fields stated that “Harvard decided to litigate this on MSNBC, the now defunded NPR,

and the ratings-disaster CNN instead of acting like adults like many of their competitors have

done and engaging in fruitful conversations and actions that would have saved them from their

self-inflicted demise.” [Id. at 4]. Shortly thereafter, on June 1, 2025, Secretary Noem echoed

these sentiments, posting on X a video of an interview on Fox News where she criticized

Harvard because, among other things, “communist and Marxist ideologies were allowed” on




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campus. Secretary Kristi Noem (@Sec_Noem), X (Jun. 1, 2025 at 12:00 PM ET),

https://x.com/sec_noem/status/1929206429912600994?s=46&t=K9-SEzbtbhZp-Upq_A7fLg. 1

                      2.   Regulatory Background Governing International Students

        Concurrently with the escalating rhetoric, the Administration and Harvard have gone

several rounds on Harvard’s ability to host international students, leading to the present

proceedings. Because this case requires an understanding of the relevant regulatory scheme and

procedural history of this issue, a discussion of the same follows.

        “Enacted in 1952, the [Immigration and Nationality Act (‘INA’)] governs noncitizens’

entrance into and removal from the United States.” Lopez v. Att’y Gen., 49 F.4th 231, 232 (3d

Cir. 2022) (citing 8 U.S.C. §§ 1101–1537). Under the INA, admission to the United States

normally requires a valid visa or other travel document. See 8 U.S.C. §§ 1181, 1182(a)(7)(A)(i)

and (B)(i)(II), 1203. One type of visa, an F-1 visa, can be granted to

         an alien having a residence in a foreign country which he has no intention of
         abandoning, who is a bona fide student qualified to pursue a full course of study
         and who seeks to enter the United States temporarily and solely for the purpose
         of pursuing such a course of study . . . at an established college [or] university .
         . . particularly designated by him and approved by the Attorney General . . . .
Id. § 1101(a)(15)(F)(i).

        This is known as the SEVP, and the process for such approval by the Attorney General is

governed by regulation and called “SEVP Certification.” 8 C.F.R. § 214.3(f). To qualify for

initial certification and subsequent biennial certification, a school must demonstrate that it meets

four basic criteria: 1) it is “a bona fide school,” 2) it is “an established institution of learning or

other recognized place of study,” 3) it possesses the facilities, personnel, and finances to conduct




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  “We think we may take judicial notice of such official statements made by the head of one of
the branches of the executive department.” Heath v. Wallace, 138 U.S. 573, 584 (1891).
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instruction, and 4) it actually engages in that instruction. Id. § 214.3(a)(3)(i)(A)–(D), (h)(2); see

also 8 U.S.C. § 1762 (mandating biennial review). As particularly relevant to the present

dispute, it must also demonstrate that it complies with recordkeeping mandates under 8 C.F.R.

§ 214.3(g).

       Outside of the biennial certification process, the government may withdraw a school’s

certification, but it must serve the school with a Notice of Intent to Withdraw (“NOIW”), which

can only be issued “if SEVP determines that a school reviewed out-of-cycle has failed to sustain

eligibility or has failed to comply with the [compliance criteria].” 8 C.F.R. § 214.3(e)(4). The

school then has 30 days to answer the allegations, submit evidence, and request a “telephonic

interview in support of its response.” Id. § 214.4(b). The effect of withdrawing a school from

the program is that the school can no longer host international students. Id. § 214.4(h)(i)(1).

       Another type of visa called a “J visa” operates similarly. This is a class of visas for

foreign citizens who are approved to participate in an exchange visitor program in the United

States, see 8 U.S.C. § 1101(a)(15)(J), and includes students, professors, and research scholars, 22

C.F.R. § 62.4. To participate, an institution must be designated as an “Exchange Visitor

Program sponsor” by the State Department. Id. §§ 62.3, 62.5. Although the criteria for

revocation of such a designation are broader than for F-1 visas, including if a school runs “its

program in such a way as to undermine the foreign policy objectives of the United States,

compromise the national security interests of the United States, or bring the Department or the

Exchange Visitor Program into notoriety or disrepute,” [Am. Compl. ¶ 95 (citing 22 C.F.R.

§ 62.50(a))], the relevant regulations still require a 30-day notice of intent to revoke and include

procedural steps that must be taken prior to revocation, 22 C.F.R. § 62.50(d).




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       In addition to the statutory provisions and implementing regulations cited above, the INA

separately confers on the President the power to suspend or restrict the entry of aliens. Section

1182(f) of Title 8 provides:

         Whenever the President finds that the entry of any aliens or of any class of aliens
         into the United States would be detrimental to the interests of the United States,
         he may by proclamation, and for such period as he shall deem necessary,
         suspend the entry of all aliens or any class of aliens as immigrants or
         nonimmigrants, or impose on the entry of aliens any restrictions he may deem
         to be appropriate.
                     3.   Harvard’s Ability to Host International Students

       As referenced supra, on April 16, 2025, Secretary Noem sent Harvard’s International

Office (“HIO”) a letter requesting information within ten business days of receipt about each

student visa holder. [Am. Compl. ¶ 15]. On April 30, 2025 and again on May 14, 2025, Harvard

provided information it claims was responsive to the request. [Id. ¶ 16]. On May 22, 2025, DHS

sent Harvard the SEVP Revocation Letter. [Id.]

       The following day, Harvard filed its complaint and TRO Motion against the enforcement

of the SEVP Revocation Letter with this Court, [ECF No. 4]. After granting the TRO, the Court

scheduled a hearing for May 29, 2025. [ECF No. 13]. That morning, prior to the hearing, DHS

filed a copy of a NOIW issued to Harvard. [ECF No. 49]. At the hearing, Defendants

represented that the SEVP Revocation Letter would not be in force while the NOIW proceedings

took place. [ECF No. 52 at 15:11–16]. Defendants nevertheless resisted an “overbroad”

injunction against enforcement of the SEVP Revocation Letter, admitting that “there might be

other legal avenues or things that the government might consider.” [ECF No. 52 at 15:12–13]. 2




2
 The Court asked the parties to submit joint or individual proposed orders reflecting their
agreement that the SEVP program would not be terminated while the NOIW process was taking

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              Those “other legal avenues” materialized on June 4, 2025, when the President issued the

   Proclamation, which bars F-1 and M visas for “any alien . . . to pursue a course of study at

   Harvard University” and J-1 visas for “any alien . . . to participate in an exchange visitor

   program hosted by Harvard University,” pursuant to 8 U.S.C. § 1182(f). The Proclamation cites

   a purported rise in crime rates at Harvard, Harvard’s receipt of funds from China and other

   foreign governments, and Harvard’s admission of students from “non-egalitarian” countries.

   [ECF No. 54-7 at 3–4]. The press release accompanying the Proclamation reiterated these

   justifications and referenced Harvard’s “demonstrated history of . . . radicalism.” [ECF No. 54-8

   at 2].

             Harvard filed a motion for another TRO, this time to enjoin the implementation of the

   proclamation on June 5, [ECF No. 56], which was granted the same day, [ECF No. 59].

   Defendants filed an opposition on June 14, [ECF No. 67], and a hearing was held on June 16.

   Harvard filed a reply on June 17, [ECF No. 72]. This opinion follows.

II.          PRELIMINARY INJUCTION LEGAL STANDARD

             When deciding whether to grant a motion for preliminary injunction, courts must

      consider four factors: “(i) the movant’s likelihood of success on the merits of its claims; (ii)

  whether and to what extent the movant will suffer irreparable harm if the injunction is withheld;

  (iii) the balance of hardships as between the parties; and (iv) the effect, if any, that an injunction

  (or the withholding of one) may have on the public interest.” Corp. Techs., Inc. v. Harnett, 731

   F.3d 6, 9 (1st Cir. 2013). The First Circuit has held that these four factors “are not entitled to

   equal weight in the decisional calculus.” Id. Rather, the movant’s likelihood of success on the




   its course. The parties submitted different versions of the Order and on June 20, 2025, the Court
   entered the more limited order proposed by Defendants. [ECF No. 73].
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merits “is the main bearing wall of the four-factor framework.” Id. at 10 (citation omitted).

“[P]roving likelihood of success on the merits is the ‘sine qua non’ of a preliminary injunction.”

Arborjet, Inc. v. Rainbow Treecare Sci. Advancements, Inc., 794 F.3d 168, 173 (1st Cir. 2015)

(quoting New Comm Wireless Servs., Inc. v. SprintCom, Inc., 287 F.3d 1, 9 (1st Cir. 2002)).

Therefore, “[i]f the moving party cannot demonstrate that [they are] likely to succeed in [their]

quest, the remaining factors become matters of idle curiosity.” Id. (quoting New Comm

Wireless Servs., 287 F.3d at 9). Likewise, the balance of hardships and public interest factors

“merge when the Government is the opposing party.” Nken v. Holder, 556 U.S. 418, 435

(2009). As the moving party, Plaintiff bears the burden of satisfying each of these four elements.

See Nieves-Marquez v. Puerto Rico, 353 F.3d 108, 120 (1st Cir. 2003). Preliminary injunctions

function to “preserve the relative positions of the parties until a trial on the merits can be held.”

Univ. of Tex. v. Camenisch, 451 U.S. 390, 395 (1981). As a result, “findings of fact and

conclusions of law made by a court granting a preliminary injunction are not binding at trial on

the merits.” Id. (first citing Indus. Bank of Wash. v. Tobriner, 405 F.2d 1321, 1324 (D.C. Cir.

1968); and then citing Hamilton Watch Co. v. Benrus Watch Co., 206 F.2d 738, 742 (2d Cir.

1963)). The granting of a preliminary injunction is “an ‘extraordinary and drastic remedy’ that

‘is never awarded as of right.’” Voice of the Arab World, Inc. v. MDTV Med. News Now, Inc.,

645 F.3d 26, 32 (1st Cir. 2011) (quoting Munaf v. Geren, 553 U.S. 674, 689–90 (2008)).

       In the First Amendment context in particular, the balance of equities and irreparable harm

are inextricably linked to the merits. Moreover, the Court finds here that the harm, the balance

of hardships and the public interest all easily weigh in favor of an injunction, and therefore it will

focus its attention on the likelihood of success on the merits.




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III.       DISCUSSION

               A.      Justiciability

           As an initial matter, Defendants claim that Plaintiff’s statutory claims are not justiciable

    because, under the Supreme Court’s precedent Fiallo v. Bell, 430 U.S. 787 (1977), the President

    has a “‘sweeping proclamation power’ to suspend entry of aliens and impose restrictions wholly

    in [his] discretion.” [ECF No. 67 at 15 (quoting Abourezk v. Reagan, 785 F.2d 1043, 1049 n.2

    (D.C. Cir. 1986) (R.B. Ginsburg, J.))].

           The Court finds Defendants’ reliance on Fiallo to be misplaced. Although it is true that

    Fiallo “underscore[s] the limited scope of judicial inquiry into immigration legislation,” 430 U.S.

    at 792 (emphasis added), the section of Fiallo upon which Defendants rely is discussing

    Congress’s power to regulate the entry of aliens, not the power of the Executive to do so. See id.

    (“This Court has repeatedly emphasized that over no conceivable subject is the legislative power

    of Congress more complete than it is over the admission of aliens. . . . And we observed recently

    that in the exercise of its broad power over immigration and naturalization, Congress regularly

    makes rules that would be unacceptable if applied to citizens.” (emphasis added) (citation

    modified)). Given, then, “the strong presumption that Congress intends judicial review of

    administrative action,” Smith v. Berryhill, 587 U.S. 471, 483 (2019) (quoting Bowen v. Mich.

    Acad. of Family Physicians, 476 U.S. 667, 670 (1986)), the Court finds Defendants’ sweeping

    assertions to be insufficient. Although the scope of review may be “limited,” the Court sees no

    reason why that review cannot include ensuring the Administration’s compliance with the

    statutory scheme, particularly where the dispute implicates core constitutional concerns distinct

    from the statutory analysis.




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           B.      Likelihood of Success on the Merits

                     1.   Compliance with the INA

       Harvard’s first argument is statutory—namely, that the Proclamation exceeds the

President’s authority under 8 U.S.C. § 1182(f). Defendants disagree and maintain that the

President’s authority is sufficiently broad under § 1182(f) that the Proclamation fits squarely into

it.

       As stated supra, the President may issue a proclamation restricting the entry of aliens

“[w]henever [he] finds that the entry of any aliens or of any class of aliens into the United States

would be detrimental to the interests of the United States.” 8 U.S.C. § 1182(f). The Supreme

Court last addressed the framework for analyzing “national security directive[s] regulating the

entry of aliens abroad” during President Trump’s previous term in Trump v. Hawaii, 585 U.S.

667 (2018). Id. at 702. Defendants argue that Hawaii is dispositive to the case at hand, as, per

the holding in Hawaii, it is clear that “§ 1182(f) grants the President broad discretion” and

“exudes deference to the President in every clause.” Id. at 683–84; see [ECF No. 67 at 13–14].

Plaintiff counters that, even given Hawaii, the Proclamation nonetheless exceeds the President’s

authority under 8 U.S.C. § 1182(f). [ECF No. 57 at 27–31; ECF No. 72 at 13–18].

       Defendants are correct that § 1182(f) and Hawaii establish broad presidential discretion,

“vest[ing] the President with ‘ample power’ to impose entry restrictions in addition to those

elsewhere enumerated in the INA.” 585 U.S. at 684 (quoting Sale v. Haitian Ctrs. Council, Inc.,

509 U.S. 155, 187 (1992)). That said, Plaintiff is also correct that the facts in Hawaii are readily

distinguishable from those currently before the Court, making the precedent far from dispositive.

The Court briefly summarizes some of those factual differences to give context to the analysis

that follows.

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       First, the gravamen of the holding in Hawaii was that it was allowable for the President to

restrict the entry of aliens into the United States who could not be properly vetted prior to their

admission. 585 U.S. at 685 (“[T]he President found that it was in the national interest to restrict

entry of aliens who could not be vetted with adequate information—both to protect national

security and public safety, and to induce improvement by their home countries.”). Here, there is

no dispute that the students seeking entry can be properly vetted prior to admission; in fact, the

DHS and Department of State-administered programs, already highly regulated, are currently

considering heightened vetting for visa applicants—piloting this heightened vetting with students

coming to Harvard, [Am. Compl. ¶ 22]. The Proclamation itself contains no language indicating

a concern with the vetting that underlies the granting of these visas. Rather, the Administration

in this action, per the terms of the Proclamation, is concerned about what happens after the

applicants enter. The Proclamation identifies the problem as a risk created by Harvard’s failure

to collect and share the information sought by the government, not a risk directly posed by the

international people seeking admission, unlike in Hawaii. 3

       Second, the “class” the presidential proclamation in Hawaii sought to bar from entry was

defined by nationality, and the detriment to the United States was directly linked to that

characteristic. 585 U.S. at 685 (“The Proclamation therefore crafted country-specific restrictions

that would be most likely to encourage cooperation given each country’s distinct circumstances,

while securing the Nation ‘until such time as improvements occur.’ (citation modified)). In

upholding the proclamation at issue, the Hawaii Court found that “the word ‘class’ comfortably

encompasses a group of people linked by nationality.” Id. at 688. Here, the Proclamation’s



3
  Harvard maintains that it has adequately responded to the Administration’s requests for
information, but that dispute is not currently before the Court.
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relevant “class” is defined as students intending to go to Harvard. [ECF No. 54-7]. Per the

Proclamation, if the students elected to attend a different school, they would no longer fall within

the Proclamation’s class and would therefore not be subject to the Proclamation. [Id.] It is far

from clear that Hawaii’s class definition would as comfortably encompass a group of people

linked not by nationality but by their intent to attend a particular school once admitted to this

country. Further, Defendants notably assert no risk or detriment at the time of entry, no risk or

detriment directly associated with the students themselves, and, indeed, no international risk at

all. In other words, the only articulated risk or detriment arises from a domestic institution’s

purported conduct, not from the risks posed by the visa holders, which is distinct from the

circumstances in Hawaii.

        Third, Hawaii involved a blanket ban on entry for broad, categorical purposes and not a

ban on entry related to the specific destination upon entry. 585 U.S. at 679–80 (proclamation

banned all visas, immigrant and nonimmigrant business and tourist visas, or just immigrant visas

depending on country). Here, the Administration does not generally object to the entry of the

students, but rather is concerned solely with where they are going once admitted. [ECF No. 54-

7]. As the Supreme Court stated in Hawaii, the statute “enables the President to ‘suspend the

entry of all aliens or any class of aliens’ whenever he ‘finds’ that their entry ‘would be

detrimental to the interests of the United States.’” 585 U.S. 683 (quoting 8 U.S.C. § 1182(f)). In

the instant case, the President has arguably (and, very specifically) not found that the entry

would be detrimental, given that these students are allowed to enter—provided that they do not

attend Harvard.

        This all said, the Court’s statutory analysis, although informed by Hawaii, must focus on

the statute itself. By its terms, the statute, as relevant here, requires: (1) a finding; (2) that the

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entry into the United States; (3) of any aliens or class of aliens; (4) would be detrimental to the

interests of the United States. 8 U.S.C. § 1182(f).

       In arguing that the Proclamation exceeds the authority granted by § 1182(f), Harvard first

asserts that the President has not made the predicate “finding” of “detriment[]” to the United

States. [ECF No. 57 at 28–29]. The statute is silent as to what constitutes a presidential

“finding,” and, in the absence of statutory guidance, Harvard’s argument is largely foreclosed by

Hawaii and therefore unavailing. In Hawaii, the Supreme Court indicated that the premise that

the statute required a “finding with sufficient detail to enable judicial review” was questionable

and rejected a request for a “searching inquiry into the persuasiveness of the President’s

justifications.” 585 U.S. at 686. Absent any countervailing indication that it should, the Court

likewise declines to undertake such a searching inquiry here.

       Second, Harvard argues that the Proclamation is impermissibly targeted at a domestic

entity’s conduct, rather than at any foreign nationals or entities, contrary to both the text and

purpose of the statute. [ECF No. 72 at 14–18]. Specifically, as a textual matter, Harvard argues

that the President cannot define the terms “entry” and “class” as used in the statute with respect

to a visa applicant’s purpose of attending “a particular destination [within the United States].”

[ECF No. 72 at 15–16].

       Regarding “entry,” Defendants are technically correct that the Proclamation has the effect

of restricting entry as the types of visas at issue here are only valid for the purpose of attendance

at one particular institution, and entry would not be allowed if attendance at that institution was

foreclosed. [ECF No. 67 at 17]. Nevertheless, the Court agrees with Harvard that, although the

SEVP program properly limits entry to those with student visas, it is an unusual reading of

§ 1182(f) to restrict that entry based solely on the student’s purpose of entry, that is, to attend

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Harvard. Thus, while the Proclamation may have the effect of restricting entry, its intent is not

to restrict entry but rather to allow entry so long as that entry is not to attend Harvard. This

seems to be a perversion of the language and purpose of the statute. The Court will not,

however, base its decision solely on this reading of “entry,” but will factor it into its analysis of

the motivations underlying the Proclamation.

       With regard to “class of aliens,” Defendants argue that the statute provides no definition

of the term, and therefore purpose of entry is a proper characteristic on which to base a class.

[ECF No. 67 at 16]. Defendants here claim that the class at issue is defined as a group of aliens

attending Harvard. Although the Court agrees that the term “class” can be construed broadly, the

Court also recognizes and gives weight to Harvard’s argument that no previous proclamation has

ever defined “class” by an alien’s potential relationship with a specific domestic entity for the

purpose of influencing that domestic entity’s conduct. See Kelsey Y. Santamaria, Calvin Gibson

& Hillel R. Smith, Cong. Rsch. Serv., LSB10458, Presidential Authority to Suspend Entry of

Aliens Under 8 U.S.C. § 1182(f) (2024) (listing previous invocations of authority under

§ 1182(f)). “[J]ust as established practice may shed light on the extent of power conveyed by

general statutory language, so the want of assertion of power by those who presumably would be

alert to exercise it, is equally significant in determining whether such power was actually

conferred.” West Virginia v. EPA, 597 U.S. 697, 725 (2022) (citation omitted); see also Biden

v. Nebraska, 600 U.S. 477, 501 (2023) (no authority to cancel student loans where the “Secretary

has never previously claimed powers of this magnitude under the . . . Act”).

       Harvard likewise presents a compelling argument as to the purpose of the statute, which

Defendants do not significantly rebut; that is, that the statute’s purpose is to regulate and

influence conduct abroad, rather than at home. [ECF No. 72 at 16–17]. In Hawaii, the Court

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recognized that the statute gave the President “flexible authority to suspend entry based on

foreign policy interests.” 585 U.S. at 696 (emphasis added). And other courts have similarly

expressed skepticism that the President’s authority under § 1182(f) is as extensive when it is

aimed at domestic policy as opposed to foreign policy or national security. Nat’l Ass’n of Mfrs.

v. U.S. Dep’t of Homeland Sec., 491 F. Supp. 3d 549, 563 (N.D. Cal. 2020) (“Indeed, there must

be some measure of constraint on Presidential authority in the domestic sphere in order not to

render the executive an entirely monarchical power in the immigration context, an area within

clear legislative prerogative.”), appeal dismissed as moot, No. 20-17132, 2021 WL 1652646, at

*1 (9th Cir. Apr. 8, 2021).

       Given its many unprecedented features, the Court is skeptical that, despite its breadth,

§ 1182(f) authorizes the Proclamation. Although this could end the inquiry, in the interest of a

complete record, the Court reaches the parties’ constitutional arguments. 4




4
  Harvard makes one other statutory argument: it argues that the Proclamation, by demanding
additional records from Harvard, conflicts with the part of the statute governing the SEVP
program by setting forth additional reporting requirements beyond what is required by the
implementing regulations. [ECF No. 72 at 18 (citing 8 U.S.C. § 1372(c) and 8 C.F.R. §
214.3(g))]. Defendants respond that “Section 1182(f) is an independent grant of authority that
allows the President to restrict entry irrespective of agency-level reporting frameworks.” [ECF
No. 67 at 19]. Here, the Court agrees with the Defendants that the Proclamation does not
conflict with § 1372 to the extent that the Proclamation is otherwise lawful. See Hawaii, 585
U.S. at 689. Taking the proclamation at issue in Hawaii as an example, if entry was lawfully
restricted for aliens from certain countries, it seems implausible that the ability of the President
to restrict the entry of these aliens could be overridden by DHS’s ability to admit them pursuant
to the SEVP. Likewise here; the Court’s other doubts about the legality of the Proclamation
notwithstanding, it seems contrary to the statutory scheme that regulations governing DHS’s
discretionary ability to grant SEVP visas would override the President’s broad authority under §
1182(f).
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                     2.   Constitutional Claims

       Harvard asserts three First Amendment claims and one Fifth Amendment claim, all of

which are based almost entirely on the factual record outside of the text of the Proclamation

itself. See [Am. Compl. ¶¶ 281–91, 300–06; ECF No. 57 at 18–27, 31–33]. These claims rest on

the contention that the Administration issued the Proclamation in retaliation for Harvard’s

exercise of academic freedom and its public statements committing to the same, [ECF No. 57 at

19–20]; that the Administration issued the Proclamation in retaliation for Harvard deciding to

litigate the validity of the Administration’s funding cuts and the SEVP Revocation Letter, [id. at

25–27]; and that the Administration is discriminating against Harvard for having perceived

viewpoints that are disfavored by the Administration, [id. at 23–25]. Harvard also asserts a

“class-of-one” equal protection claim under the Fifth Amendment. [Id. at 31–33]. In Harvard’s

view, even a lawful action is rendered unlawful if done in violation of the First and Fifth

Amendments, and those inquiries are independent of the legality of the Proclamation under the

relevant statutory authority. [ECF No. 72 at 6, 10].

       Defendants argue that under Supreme Court precedent in Hawaii and Mandel, the Court

may not look at the factual record outside the text of the Proclamation in deciding whether the

Proclamation violates the First or Fifth Amendments. [ECF No. 67 at 21–24]. They also aver

that the record insufficiently supports a finding of retaliation for either Harvard’s speech or its

decisions to litigate against the Administration, [id. at 26–35], and that it likewise does not

support a finding of viewpoint discrimination or an equal protection violation, [id. at 35–38].

                               i.      Application of the Hawaii/Mandel Standard

       The Court turns first to the applicable standard of review for Harvard’s constitutional

claims. In Hawaii, the Supreme Court recognized that, “although foreign nationals seeking

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admission have no constitutional right to entry, this Court has engaged in a circumscribed

judicial inquiry when the denial of a visa allegedly burdens the constitutional rights of a U.S.

citizen.” 585 U.S. at 703. That said, “‘when the Executive exercises [power over admission of

aliens] negatively on the basis of a facially legitimate and bona fide reason, the courts will

neither look behind the exercise of that discretion, nor test it by balancing its justification’

against the asserted constitutional interests of U.S. citizens.” Id. (quoting Kleindienst v. Mandel,

408 U.S. 753, 770 (1972)).

       Defendants argue that, under this framework, Harvard’s constitutional claims fail because

the Proclamation is “facially legitimate” and therefore the “deferential framework” set out in

Hawaii and Mandel precludes the Court from “look[ing] behind” the reasoning set out in the

Proclamation itself. [ECF No. 67 at 21]. Harvard disagrees and points out that, unlike Hawaii

and Mandel, the Proclamation is aimed at directly regulating a domestic entity, rather than

incidentally burdening the rights of U.S. citizens, and therefore a “deferential framework” is

inapplicable. [ECF No. 72 at 9].

       The Court notes that, if the Proclamation is in fact unlawful under § 1182(f), the

Hawaii/Mandel framework would be irrelevant. See Hawaii, 585 U.S. at 703 (requiring “facially

legitimate and bona fide reason” for exercise of “delegated power” (citation modified)).

Assuming, as it does for its constitutional analysis, that the broad language of § 1182(f)

authorizes the Proclamation, the Court nevertheless need not do much to distinguish Hawaii, 5 as



5
  The Court focuses its analysis on Hawaii as it is the Supreme Court’s most recent guidance on
the issues at hand. In Hawaii, the Supreme Court noted that a “conventional application of
Mandel, asking only whether the policy is facially legitimate and bona fide, would put an end” to
its review but then proceeded to engage in a rational basis review and look outside the four
corners of the proclamation to do so, at the government’s invitation. 585 U.S. at 704–05. As a

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the Proclamation falls squarely within the type of action that would be impermisible even under

Hawaii’s deferential review. 6 There, the Supreme Court, in reviewing the Establishment Clause

challenge to the proclamation at issue, ultimately decided that it would “uphold the policy so

long as it [could] reasonably be understood [as] result[ing] from a justification independent of

unconstitutional grounds,” and went on to apply rational basis scrutiny. Id. at 705. The Court

then stated:


         Given the standard of review, it should come as no surprise that the Court hardly
         ever strikes down a policy as illegitimate under rational basis scrutiny. On the
         few occasions where we have done so, a common thread has been that the laws
         at issue lack any purpose other than a “bare . . . desire to harm a politically
         unpopular group.” . . . [The government action in such cases was] “divorced
         from any factual context from which we could discern a relationship to



result, it is unclear to this Court whether Hawaii affirmed, overruled, refined, or built additional
layers into Mandel. See, e.g., Int’l Refugee Assistance Project v. Trump, 961 F.3d 635, 648 (4th
Cir. 2020) (applying Hawaii and Mandel separately, and noting that “[w]hile important
differences exist between the two standards, they are both ‘highly constrained’ forms of judicial
review” (quoting Hawaii, 585 U.S. at 704)). To the extent this Court, before engaging in
Hawaii’s rational basis review (including evidence extraneous to the text of the Proclamation), is
required to find that the Proclamation fails Mandel, the Court so finds for the reasons articulated
herein in Section II.B, which, for clarity, show that the Proclamation is neither facially legitimate
nor bona fide. See Kerry v. Din, 576 U.S. 86, 105 (2015) (Kennedy, J., concurring in the
judgment) (interpreting Mandel as allowing courts to “look behind” the face of the government’s
decision based on “an affirmative showing of bad faith”).
6
  The Court believes that the level of scrutiny that a governmental action receives may be greater
when aimed at influencing the conduct of a domestic entity, even if the action relies on the
“authority of the political branches over admission.” Hawaii, 585 U.S. at 703; see Holder v.
Humanitarian L. Project, 561 U.S. 1, 34 (2010) (“Our precedents, old and new, make clear that
concerns of national security and foreign relations do not warrant abdication of the judicial role.
We do not defer to the Government’s reading of the First Amendment, even when such interests
are at stake. . . . [T]he Government’s authority and expertise in these matters do not
automatically trump the Court’s own obligation to secure the protection that the Constitution
grants to individuals.” (internal quotation and citation omitted)). Therefore, the limited review
prescribed by Hawaii is arguably inapplicable, and the Proclamation should receive the level of
review normally afforded to the claims at issue in the First Amendment context. Stilwell v. City
of Williams, 831 F.3d 1234, 1250 (9th Cir. 2016) (“It is well established that First Amendment
claims . . . that allege retaliation following speech on a matter of public concern, are reviewed
with heightened scrutiny.”).
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         legitimate state interests,” and “its sheer breadth [was] so discontinuous with the
         reasons offered for it” that the initiative seemed “inexplicable by anything but
         animus.”
Hawaii, 585 U.S. at 705–06 (first quoting Dep’t of Agric. v. Moreno, 413 U.S. 528, 534 (1973);

and then quoting Romer v. Evans, 517 U.S. 620, 632, 635 (1996)). Such is the case here: the

Proclamation quite obviously has no “legitimate grounding” in its stated concerns, and it is

“inexplicable by anything but animus.” Id. at 706 (citation omitted).

       The purported justifications in the Proclamation are threefold. First, the Proclamation

cites “[c]rime rates at Harvard University,” which it claims “have drastically risen in recent

years.” [ECF No. 54-7 at 3]. But, other than citing an alleged failure by Harvard to turn over

certain data, the Proclamation does nothing to tie these higher crime rates to the number of

international students at Harvard. The Proclamation does not state, for example, that the rise in

crime is correlated with a rise in the percentage of international students of Harvard, nor does it

cite any evidence whatsoever that international students are committing these crimes, statistics

which, presumably, would be available to the federal government if they exist. Indeed, it is

telling that, when describing this alleged problem in its brief, Defendants do not cite to any

records or statistics kept by any of the myriad of federal law enforcement agencies tasked with

collecting such data, but instead cite to an article by the Harvard Crimson, a college student

newspaper, presumably without access to the data available to the executive branch. Contrast

[ECF No. 67 at 33 n.10], with, e.g., Press Release, Federal Bureau of Investigation, FBI Releases

2023 Crime in the Nation Statistics (Sept. 23, 2024), https://www.fbi.gov/news/press-

releases/fbi-releases-2023-crime-in-the-nation-statistics. Equally perplexing is the fact that the

Proclamation provides no rationale for why the Administration needs Harvard to disclose any

alleged crimes committed by international students, when, again, this information should be


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easily accessible to the Executive given that it is the State Department that issues the relevant

visas, see, e.g., 8 U.S.C. § 1372(a)(3)(A), and any convictions would be matters of public record.

This purported justification, then, is completely “divorced from any factual context from which

we could discern a relationship to legitimate state interests.” Hawaii, 585 U.S. at 706 (quoting

Romer, 517 U.S. at 635).

       Next, the Proclamation cites Harvard’s “entanglements with foreign countries, including

our adversaries.” [ECF No. 54-7 at 4]. It specifically takes issue with Harvard’s alleged receipt

of $150 million from China, stating that, “[i]n exchange, Harvard has, among other things,

repeatedly hosted and trained members of a Chinese Communist Party paramilitary

organization,” and “Harvard researchers have also partnered with China-based individuals on

research that could advance China’s military modernization.” [Id.] The Proclamation, however,

bans “entry of any alien . . . as a nonimmigrant to pursue a course of study at Harvard

University.” [Id. at 5 (emphasis added)]. It does not ban members of the cited Chinese

Communist Party paramilitary organization, or even all students from China. This is a textbook

example of where the “sheer breadth” of the ban is “discontinuous with the reasons offered for

it.” Hawaii, 585 U.S. at 706 (quoting Romer, 517 U.S. at 632). 7

       Finally, the Proclamation states that Harvard “flout[s] the civil rights of its students and

faculty” by “admit[ting] students from non-egalitarian nations, including nations that seek the

destruction of the United States and its allies, or the extermination of entire peoples.” [ECF No.

54-7 at 4]. But again, the Proclamation is not limited to students from such “non-egalitarian




7
  The same logic applies to any justification on the basis of anti-Israeli or antisemitic bias, which,
although not cited in the text of the Proclamation, appears frequently in the record. The
Proclamation does not make exceptions for Jewish or Israeli students. [ECF No. 54-7].
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nations.” Nor does the Proclamation explain why having such students educated at other

universities, as is plainly allowed under the Proclamation, see [id. at 5], is any different from

them attending Harvard, where their admission would, under the Proclamation’s theory, equally

flout the civil rights of the students and faculty at the other universities. Here again, the “sheer

breadth” of the ban is “discontinuous with the reasons offered for it.” Hawaii, 585 U.S. at 706

(quoting Romer, 517 U.S. at 632).

       The examples used by the Court in Hawaii are illustrative. A policy that the Court cited

as failing rational basis review involved “a local zoning ordinance that required a special permit

for group homes for the intellectually disabled, but not for other facilities such as fraternity

houses or hospitals.” Hawaii, 585 U.S. at 705. The Court held that the city’s stated concerns

regarding “‘legal responsibility’ and ‘crowded conditions’ rested on ‘an irrational prejudice’

against the intellectually disabled,” rather than any rational basis for believing that a group home

for the intellectually disabled would pose a special threat to the city’s legitimate interests. Id.

(quoting City of Cleburne v. Cleburne Living Ctr., Inc., 473 U.S. 432, 448–50 (1985)). Likewise

here, the purported concern about students from “non-egalitarian nations” attending Harvard but

not other universities, for example, makes little sense in the context of the justifications offered

by the Proclamation. And disallowing only international students despite a lack of any

justification tying them to the purported rise in crime at Harvard certainly constitutes an

“irrational prejudice.”

       The differences between this case and the proclamation upheld in Hawaii are stark. The

constitutional concern at issue in Hawaii was the purported disfavoring of a particular religion,

i.e. Islam. Id. at 697. There, despite the allegations that the proclamation at issue in Hawaii was

a “Muslim ban,” id. at 700 (citation omitted), “[t]he text sa[id] nothing about religion,” id. at

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706. And in fact, only “five of the seven nations . . . included in the Proclamation ha[d] Muslim-

majority populations” and “the policy cover[ed] just 8% of the world’s Muslim population and

[wa]s limited to countries that were previously designated by Congress or prior administrations

as posing national security risks.” Id. That could not be further from the case in front of us. The

alleged target of the constitutional concern here is Harvard, and the Proclamation both expressly

targets Harvard and, by its terms, exclusively impacts Harvard. [ECF No. 54-7 at 5]. If this

were not enough, the press release accompanying the Proclamation cites Harvard’s

“demonstrated history of . . . radicalism,” disabusing the Court of any notion that the

Proclamation is facially neutral. 8 [ECF No. 54-8 at 2]. All told, it is difficult, if not impossible,

to conclude that the reasons offered in support of the Proclamation are anything other than

pretextual.

       Having decided that the Proclamation’s justifications do not provide a rational—or, as

noted supra, a facially legitimate and bona fide—basis for the measures implemented in the

Proclamation, and that the Proclamation therefore cannot “be reasonably understood to result

from a justification independent of unconstitutional grounds,” Hawaii, 585 U.S. at 705, the Court

turns to the merits of Harvard’s constitutional claims. 9



8
  The Court assumes that it may treat the accompanying press release as part of the Proclamation
for the purposes of the Hawaii/Mandel analysis, as it would defy logic if the President could
avoid constitutionality concerns by saying things in a press release to avoid scrutiny.
Nevertheless, the cited statement in the press release is not dispositive to this opinion.
9
  In proceeding to the merits of Harvard’s constitutional claims, the Court notes that it is
uncertain whether Harvard must actually demonstrate that it meets each of the elements of its
claims, or whether it is sufficient that Harvard show that the Proclamation is “inexplicable by
anything but animus,” Hawaii, 585 U.S. at 706 (citation omitted), given that, as the Court has
already explained, the Proclamation is “divorced from any factual context from which [the
Court] could discern a relationship to legitimate state interests” and “discontinuous with the
reasons offered for it,” id. (citation omitted). In Hawaii, the Supreme Court concluded that the

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                               ii.     Freedom of Speech Retaliation

       Harvard’s first constitutional claim is premised on the idea that the Proclamation was

issued to retaliate against Harvard for its exercise of its right to free speech protected under the

First Amendment. [ECF No. 57 at 19–23]. Plaintiff argues that “[t]he Proclamation unlawfully

retaliates against Harvard for its refusal to allow the federal government to control its academic

decisionmaking.” [Id. at 19]. Defendants rejoin that this assertion is “groundless” and that the

government merely “does not trust Harvard to vet and monitor incoming foreign students the

way other universities might.” [ECF No. 67 at 33–34].

       “[T]he First Amendment prohibits government officials from relying on the ‘threat of

invoking legal sanctions and other means of coercion . . . to achieve the suppression’ of

disfavored speech.” Nat’l Rifle Ass’n of Am. v. Vullo, 602 U.S. 175, 176 (2024) (quoting

Bantam Books, Inc. v. Sullivan, 372 U.S. 58, 67 (1963)). Importantly, “a government official

cannot directly or indirectly coerce a private party to punish or suppress disfavored speech on her

behalf.” Id. at 177. Against that backdrop, the elements of a retaliation claim are that “(1) the

plaintiff engaged in protected conduct; (2) an adverse action was taken against the plaintiff that




proclamation survived rational basis review, and did not separately analyze the merits of the
plaintiffs’ Establishment Clause claim. Here, the Proclamation fails Mandel and Hawaii, but, to
this Court’s understanding, that does not necessarily mean that it is part of a retaliatory campaign
or an instance of viewpoint discrimination in violation of the First Amendment. As such, in the
interests of completeness, the Court separately addresses the merits of Harvard’s underlying
constitutional claims, recognizing that the Proclamation has already failed the narrow review
prescribed in Mandel and Hawaii and that this might be the end of the day for Defendants. In so
doing, the Court looks beyond the facially defective proclamation, as is typically contemplated
for such claims, and as the Supreme Court assumed it could in applying rational basis review in
Hawaii, 585 U.S. at 704. The Court notes for completeness that the same facts articulated
supporting a finding of Free Speech and Petition Clause retaliation are, given those facial
defects, more than sufficient for a finding that the Proclamation could not have been motivated
by anything but animus.
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would deter a person of ordinary firmness from continuing to engage in that conduct; and (3)

there is a causal connection between elements one and two—that is, the adverse action was

motivated at least in part by the plaintiff’s protected conduct.” Werner v. Therien, No. 99-cv-

12497, 2005 WL 1000010, at *8 (D. Mass. Mar. 31, 2005) (quoting Thaddeus–X v. Blatter, 175

F.3d 378, 394 (6th Cir. 1999)).

       On the first element, Harvard alleges that its refusal to meet the demands made by the

government in the April 11 Letter, including that it cede control over its admissions and

curriculum, constitutes the protected impetus for the alleged campaign of retaliatory conduct.

[ECF No. 57 at 19–20]. Although “[a]cademic freedom [is] not a specifically enumerated

constitutional right,” Regents of Univ. of Cal. v. Bakke, 438 U.S. 265, 312 (1978), the courts’

“responsibility to safeguard [educational institutions’] academic freedom [is] ‘a special concern

of the First Amendment,’” Regents of Univ. of Mich. v. Ewing, 474 U.S. 214, 226 (1985)

(quoting Keyishian v. Bd. of Regents, 385 U.S. 589, 603 (1967)). “Academic freedom thrives

not only on the independent and uninhibited exchange of ideas among teachers and students, but

also . . . on autonomous decisionmaking by the academy itself.” Id. at 603 n.12 (citations

omitted). “A university ceases to be true to its own nature if it becomes the tool of Church or

State or any sectional interest.” Sweezy v. New Hampshire, 354 U.S. 234, 262 (1957)

(Frankfurter, J., concurring).

       “‘[T]he four essential freedoms’ of a university [are] to determine for itself on academic

grounds who may teach, what may be taught, how it shall be taught, and who may be admitted to

study.” Bakke, 438 U.S. at 312 (quoting Sweezy, 354 U.S. at 263); see also Urofsky v. Gilmore,

216 F.3d 401, 412 (4th Cir. 2000) (“The Supreme Court . . . appears to have recognized . . . an

institutional right of self-governance in academic affairs.”). The April 11 Letter, on its face, was

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aimed directly at these protected academic freedoms, as it clearly sought to control the views of

Harvard’s faculty and students as well as the school’s curricula and make them subject to

government approval. The letter further requires Harvard to select an external party, also subject

to the government’s approval, to audit all departments, fields, and teaching units to ensure

“viewpoint diversity,” a term that is defined nowhere in the Letter. [ECF No. 1-9 at 3–4].

Departments or fields found to lack such viewpoint diversity would be required to hire a “critical

mass” of new faculty “who will provide viewpoint diversity,” again subject to the oversight of

the government, and “admit[] a critical mass of students who will provide viewpoint diversity.”

[Id.] Further, Harvard must select an external party, again subject to government approval, to

“audit” programs that “reflect ideological capture,” a term not defined in the April 11 Letter, and

then to “make repairs.” [Id.] These programs, as identified in the letter, include not just

programs focused on international human rights or religion, but also programs at the Graduate

School of Education, the Medical School, and the School of Public Health. [Id.] Thus, it is plain

that Harvard’s refusal to acquiesce to these demands constitutes engagement in protected

conduct. See Am. Fed’n of Gov’t Emps., AFL-CIO v. Noem, No. 25-cv-00451, 2025 WL

1557270, at *17 (W.D. Wash. June 2, 2025). Moreover, Harvard’s public statements regarding

its refusal, including President Garber’s April 14 letter, also constitute protected speech. Trulock

v. Freeh, 275 F.3d 391, 404 (4th Cir. 2001) (“The First Amendment guarantees an individual the

right to speak freely, including the right to criticize the government and government officials.”).

       Defendants’ sole argument to the contrary is that the only conduct at issue is Harvard’s

rejection of the demands in the April 11 Letter, and they state in a conclusory fashion that

“rejection of an offer is not protected speech.” [ECF No. 67 at 27]. Even beyond the

disingenuousness of characterizing the April 11 Letter as an “offer,” this view is overly

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simplistic and fails to grapple with the facts as alleged. Rather, it is also Harvard’s ongoing self-

governance and academic freedom underlying that rejection, as well as Harvard’s public

statements refusing to cede its academic freedom, that constitute the protected conduct, not

simply the actual words of rejection. Thus, Defendants’ argument fails.

       On the second element, there can be no dispute that the Proclamation constitutes adverse

action, nor do Defendants even attempt to offer a compelling reason to conclude otherwise. See

generally [ECF No. 67]. On its face, the Proclamation describes the ability to host foreign

students and faculty as a “privilege” that is being lost. [ECF No. 54-7 at 2]. The loss of this

privilege is an adverse action, particularly given the impact of the loss of that privilege on

Harvard and its students and faculty. See, e.g., Barton v. Clancy, 632 F.3d 9, 29 (1st Cir. 2011)

(“[T]he pertinent question . . . is whether the defendant’s actions would deter ‘a reasonably hardy

individual[]’ from exercising his constitutional rights.” (citation omitted)); Perry v. Sindermann,

408 U.S. 593, 597 (1972) (“[T]his Court has made clear that even though a person has no ‘right’

to a valuable governmental benefit and even though the government may deny him the benefit

for any number of reasons . . . [i]t may not deny a benefit to a person on a basis that infringes . . .

his interest in freedom of speech.”). As articulated in Harvard’s Amended Complaint, “[t]he

sudden inability to maintain [international] students’ enrollment jeopardizes ongoing research

projects, damages Harvard’s reputation as a world-class research institution, and deprives our

nation of the benefits of . . . vital research projects.” [Am. Compl. ¶ 213].

       The final element is the only one to which Defendants offer a serious dispute, and that is

the causal connection between the April 11 Letter and the Proclamation. Defendants contend




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that “[t]he April 11 [L]etter and Harvard’s rejection have no relation to the Proclamation”; 10 “the

gap in time undermines any link”; and the relevant parties are different. 11 [ECF No. 67 at 28].

Defendants argue that the seven weeks between the April 11 Letter (or the April 14th response)

and the Proclamation—issued June 4th—preclude any possible finding of a causal connection,

“as courts ‘typically allow no more than a few days to elapse between the protected activity and

the adverse action.’” [Id. at 28 (citing Kidwell v. Eisenhauer, 679 F.3d 957, 966 (7th Cir.

2012))].

       Defendants’ reading of the record is so selective as to border on absurd. Between the

April 11 Letter and the Proclamation, there were very few days where the Administration did not

attack Harvard in some form or another, including six Truth Social posts from the President

himself, [Am. Compl. ¶¶ 122, 123, 132, 147, 182, 183]; 12 several actual or threatened grant and

funding freezes, [id. ¶¶ 120, 127, 134, 148, 182]; several iterations of the Administration’s

attempts to limit Harvard’s ability to host international students and visitors, [id. ¶¶ 124–26 (two




10
   Defendants make a related argument that the April 11 Letter was focused on grants, rather than
the Proclamation’s broader concerns, thus weakening the causal connection between the two.
[ECF No. 67 at 29]. This argument fails for the same reasons articulated infra—primarily, the
numerous public statements from the Administration linking the April 11 Letter and the
Proclamation.
11
   Defendants also recycle the arguments rejected above regarding the reasoning on the face of
the Proclamation. [ECF No. 67 at 33]. Moreover, even if the proffered justifications for the
Proclamation are real, the Court notes that the retaliatory action need only be motivated “in part”
by the protected First Amendment activity, Therien, 2005 WL 1000010, at *8, a hurdle easily
cleared by Plaintiff on the factual record before this Court.
12
   These are of particular significance because Defendants claim that a lack of statements from
the President make this a weaker case for showing a First Amendment violation than Hawaii.
[ECF No. 67 at 31 (“In Hawaii, the President himself (or his direct advisors) made the cited
statements, whereas, here, other government agencies took the various actions Harvard
complains of.” (emphasis in original))]. The Court’s review of the record shows that both the
President and his direct advisors made numerous statements attacking Harvard in the time
between the April 14th and the Proclamation.
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days after April 14th response, Secretary Noem sent a records request about SEVP that stated

that “[f]ailure to comply with this Records Request will be treated as a voluntary withdrawal”),

158 (May 22 SEVP Revocation Letter), 188 (May 28 SEVP NOIW), 195–201 (State Department

pilot vetting program targeting Harvard visitors)]; other investigation initiations, [id. ¶ 133

(investigation into Harvard’s employment practices)]; and numerous other statements by

President Trump and other officials in the Administration, as detailed supra. Defendants’

countervailing argument that these assaults cannot constitute retaliation as they came from

different parties and are therefore not attributable to any one source is equally puzzling, because

that fact only serves to reinforce that the Administration has made a full court press against

Harvard on many different fronts. Indeed, public reporting surfaced only days before the

Proclamation was issued regarding a session convened by the President to “brainstorm additional

punitive measures” against Harvard that included “officials from nearly a dozen agencies.”

[ECF No. 54-3 at 3; Am. Compl. ¶ 184]. Far from rebutting a finding of retaliation, the

Administration’s concerted campaign entirely supports such a finding. In summary, Defendants

claim that “Harvard wants to [sic] the Court to take the massive and impermissible inference that

all of these disparate actions are connected and designed to single out Harvard for its speech.”

[ECF No. 67 at 31]. But far from being a “massive and impermissible inference,” [id.], to draw

any other conclusion would require the Court to “blind [itself] to reality,” Cox v. Murphy, No.

12-cv-11817, 2016 WL 4009978, at *10 (D. Mass. Feb. 12, 2016), namely that the government

repeatedly, clearly, and unabashedly linked Harvard’s refusal to accept the April 11 Letter’s

demands and the Proclamation.

       As a last gasp, Defendants argue that the Proclamation should get the “presumption of

regularity” of government activity. See [ECF No. 67 at 28 (citing United States v. Chemical

                                                 33
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Found., Inc., 272 U.S. 1, 14–15 (1926))]. Putting aside whether the text of § 1182(f) permits the

Proclamation, the use of that text here is hardly regular. As Harvard notes, it has never been

used to target the conduct or actions of domestic entities. [ECF No. 57 at 30]. And it has never

been used to completely eliminate a legitimate university’s ability to host international students.

[ECF No. 52 at 18:12–14]. Thus, the Court will not apply any presumption of regularity to

conduct that is so unusual and therefore irregular on its face.

       In sum, the causal link between the Proclamation and Harvard’s April 14th rejection of

the Administration’s April 11 Letter could not be more evident. Further, it is amply

demonstrated by the words of the Administration itself. On May 7, 2025, Secretary McMahon

stated in an interview: “[A]re they vetting students who are coming in from outside of the

country to make sure they’re not activists? Are they vetting professors that they’re hiring to

make sure that they’re not teaching ideologies, but that they’re teaching subject matter? . . .

They’ve taken a very hard line, so we took a hard line back.” [Am. Compl. ¶ 149 (emphasis

added)]. On May 28, 2025, White House spokesperson Harrison Fields stated: “The latest

moves against Harvard are truly just scratching the surface . . . Harvard decided to litigate this on

MSNBC, the now defunded NPR, and the ratings-disaster CNN instead of acting like adults like

many of their competitors have done and engaging in fruitful conversations and actions that

would have saved them from their self-inflicted demise.” [ECF No. 54-3 at 4]. Harvard is

entitled under the Constitution to take a “hard line” when it comes to academic freedom, and it is




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entitled to air its grievances with the government publicly without meeting its “demise.” Thus,

Harvard is likely to succeed on the merits of its retaliation claim. 13

                               iii.    Petition Clause Claim

        The First Amendment protects the “right of the people . . . to petition the Government for

a redress of grievances.” U.S. Const. amend. I. Harvard argues that “[t]he Proclamation violates

the Petition Clause by punishing Harvard for filing [a] lawsuit [with respect to the SEVP

Revocation Letter and the Proclamation] and having filed the Funding Case.” [ECF No. 57 at

26].

        The elements of a Petition Clause retaliation claim are identical to those of a free speech

retaliation claim. Stepnes v. Tennessen, No. 04-cv-00068, 2006 WL 2375645 at *9 (D. Minn.,

August 16, 2006) (reciting the elements for a retaliation claim, pursuant to the Petition Clause,

which are identical to the elements for a retaliation claim based upon the exercise of free

speech), aff’d, 267 Fed. App’x 481 (8th Cir. 2008). Defendants concede that “pursuing litigation

against the Government” is a “protected activity” under the Petition Clause. [ECF No. 67 at 34];

see also Borough of Duryea v. Guarnieri, 564 U.S. 379, 390 (2011) (treating a lawsuit against the




13
   Review of the constitutionality of presidential proclamations is not done through an APA
challenge, and therefore whether the Proclamation is a “final agency action” is not at
issue. Franklin v. Massachusetts, 505 U.S. 788, 796, 800–01 (1992). However, because the
Court reaches the merits of Harvard’s retaliation claim, it notes that other courts have found the
ability to enjoin broad swaths of agency conduct that would ordinarily not meet the APA
reviewability requirements when such conduct is part of a course of retaliation violating the First
Amendment. See Wright v. U.S. Army, 307 F. Supp. 2d 1065, 1072 (D. Ariz. 2004) (“Unlike
due process claims, First Amendment retaliation claims do not require a final agency action or a
liberty or property entitlement. Rather, the action of which a plaintiff is complaining must only
be sufficiently adverse to deter the exercise of First Amendment rights.”); Duarte Nursery, Inc. v.
U. S. Army Corps of Eng’rs, No. 13-cv-02095, 2016 WL 4717986 (E.D. Cal. June 10, 2016)
(“The court concludes that where a party raises constitutional challenges to agency action the
action at issue does not need to be ‘final agency action.’”).
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government by employee as a “petition” for purposes of the Petition Clause). And, as articulated

supra, there is no question that the Proclamation constitutes an adverse action. Thus, the primary

question is whether “the adverse action was motivated at least in part by the plaintiff’s protected

conduct.” Therien, 2005 WL 1000010, at *8.

       Harvard again cites a variety of evidence supporting such a connection. In addition to the

actions cited supra, a Truth Social post dated May 26, 2025—merely three days after this Court’s

entry of a TRO against the SEVP Revocation Letter—specifically references the present

litigation. [Am. Compl. ¶ 183]. 14 Two days later, President Trump said in a press conference,

“Harvard has to understand the last thing I want to do is hurt them. They’re hurting themselves.

They’re fighting.” 15 Bloomberg Podcasts, Trump Says Harvard Must Show List of Foreign

Students (Full Q&A), YouTube (May 28, 2025),

https://www.youtube.com/watch?v=L6yjpvZTbjA.




14
   Harvard cites a quote from a White House spokesperson following the May 28, 2025
“brainstorm” session in support of its position that the White House was criticizing it for
“decid[ing] to litigate.” [Am. Compl. ¶ 184]. The full quote from the spokesperson, Harrison
Fields, was: “Harvard decided to litigate this on MSNBC, the now defunded NPR, and the
ratings-disaster CNN instead of acting like adults like many of their competitors have done and
engaging in fruitful conversations and actions that would have saved them from their self-
inflicted demise.” [ECF No. 54-3 at 4]. The context left out by Plaintiff makes clear that Fields
is referring to “litigation” in the so-called “court of public opinion,” rather than the literal
litigation in this Court that is protected by the Petition Clause. Thus, although this quote does
have significance as to the free speech retaliation claim, it is irrelevant for the Petition Clause
claim.
15
   In addition to these events, at a public cabinet meeting on April 30, during an exchange
between President Trump, Secretary McMahon, and Secretary Noem, Secretary McMahon stated
about Harvard: “When we went back to them to say we’d welcome them back to the negotiating
table, their response was a lawsuit . . . We’re staying tough with them.” [Am. Compl. ¶ 134].
Because this predates the initial complaint and TRO in the present case, this statement likely
refers to the related case in this action, President and Fellows of Harvard College v. US Dep’t of
Health and Hum. Servs., No. 25-cv-11048. It nevertheless is probative of the Administration’s
attitude toward Harvard’s decision to litigate.
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       In addition to these explicit references to the litigation, the timeline here leaves little

room for doubt regarding the causal connection and supports Harvard’s contention that the

Proclamation was intended both to punish Harvard and, separately, to be an end run around this

Court’s prior TRO and subsequent preliminary injunction proceedings. Harvard filed its initial

complaint and TRO motion on May 23, 2025. [ECF Nos. 1, 4]. The President criticized Harvard

on Truth Social several times, including a reference to the litigation, on May 26. [Am. Comp.

¶¶ 182–83]. The parties had a status conference on May 27. [ECF No. 32]. DHS issued its

official NOIW to Harvard on May 28. [ECF No. 49]. That same day, the President convened

government officials from “nearly a dozen agencies” to brainstorm additional actions the

Administration could take against Harvard. [ECF No. 54-3 at 4]. The next day, May 29, at the

hearing on Harvard’s preliminary injunction, the parties agreed to submit a joint proposed

injunction against the SEVP Revocation Letter pending the NOIW proceedings. [ECF Nos. 50,

52]. The Proclamation was issued on June 4, one week after the brainstorming session and the

evening before the parties’ joint preliminary injunction proposal on the SEVP issue was due to

be filed. [ECF No. 54-7].

       Defendants make two arguments to the contrary. First, they claim that Harvard is arguing

for “heightened scrutiny” of later federal action. [ECF No. 67 at 34]. This mischaracterizes

Harvard’s argument. Harvard does not argue that any governmental action against it should be

scrutinized because it decided to sue the government; rather, Harvard cites specific instances of

conduct from the Administration that evidence that the Proclamation was motivated, “at least in




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part,” Therien, 2005 WL 1000010, at *8, 16 by Harvard’s decision to file a lawsuit. [ECF No. 57

at 26].

          Second, Defendants reiterate the argument that Hawaii and Mandel forbid this Court

from evaluating any of the above statements because they do not appear on the face of the

Proclamation. As the Court has explained supra, Hawaii mandated no such thing where the

Proclamation is facially illegitimate, and assumed rational basis review was permissible even

where the Proclamation is not facially illegitimate. 585 U.S. at 704–05.

          For these reasons, Harvard is likely to succeed on its Petition Clause claim.

                                 iv.    Viewpoint Discrimination

          Harvard’s final First Amendment claim is for viewpoint discrimination 17 on two fronts.

It argues that the April 11 Letter constitutes viewpoint discrimination because it requires

“reform[s]” to achieve “viewpoint diversity.” [ECF No. 57 at 23–24]. This claim seems to be

largely duplicative of the free speech retaliation claim. Therefore, the Court focuses on

Harvard’s second contention, which is essentially that the Administration is discriminating




16
   Defendants, relying on Hartman v. Moore, 547 U.S. 250, 260–61 (2006), make the argument
that “a plaintiff must plead and prove not only a retaliatory motive but also the absence of
independent lawful reasons for the official action” to make a Petition Clause claim. [ECF No. 67
at 34]. Defendants’ reliance on Hartman is misplaced as that case specifically discussed a claim
of retaliatory prosecution. 547 U.S. at 260–61 (“When the claimed retaliation for protected
conduct is a criminal charge, . . . a constitutional tort action will differ from [a] standard case
[because] the requisite causation between the defendant’s retaliatory animus and the plaintiff’s
injury is usually more complex than it is in other retaliation cases.”). It is therefore inapplicable
to the current case.
17
   Viewpoint-based discrimination is typically subject to strict scrutiny. Bible Believers v.
Wayne Cnty., 805 F.3d 228, 248 (6th Cir. 2015). If, as Defendants argue, Hawaii is applicable,
this claim is, as we have previously stated, reviewed under rational basis scrutiny. See supra.
For the reasons articulated supra, the policy is not rationally related to a legitimate state interest,
and for the reasons infra, it is clearly motivated by viewpoint animus, and so it would fail under
rational basis review as well as the heightened standard.
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against it for perceived ideology that runs contrary to the favored views of the Administration.

[Id. at 24]. 18

         “One of the most egregious types of First Amendment violations is viewpoint-based

discrimination. . . . Government actors may not discriminate against speakers based on

viewpoint.” Holloman ex rel. Holloman v. Harland, 370 F.3d 1252, 1279–80 (11th Cir. 2004)

(citations omitted). Nor may they “single[] out a subset of messages for disfavor based on the

views expressed,” Matal v. Tam, 582 U.S. 218, 248 (2017) (Kennedy, J., concurring), or

“punish[] . . . organizations and their members merely because of their political beliefs and

utterances,” Joint Anti-Fascist Refugee Comm. v. McGrath, 341 U.S. 123, 143 (1951) (Black, J.,

concurring).

         Vullo is instructive. In that case, the Superintendent of the New York Department of

Financial Services, Maria Vullo, was highly critical of the National Rifle Association (“NRA”)

in the wake several high-profile shootings, and she subsequently coerced insurance companies to

sever ties with the NRA to avoid investigations. 602 U.S. at 180–85. The Court held that the

government cannot threaten or impose legal sanctions or other means of coercion to achieve

suppression of disfavored speech. Id. at 180. Although “Vullo was free to criticize the NRA and

pursue the conceded violations of New York insurance law,” as a government official, she could

not “attempt to coerce private parties in order to punish or suppress views that the government

disfavors.” Id. at 180, 187.




18
   Defendants, perhaps recognizing the weakness of the argument, devote just a scant paragraph
in their briefing to the viewpoint discrimination argument, asserting that it “fails for the same
reasons as [Harvard’s] retaliation claims.” [ECF No. 67 at 35].
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          The present case, although lacking the middlemen at issue in Vullo, presents precisely the

same problem. Many of the Administration’s statements in the past three months about Harvard

have specifically critiqued its—real or perceived—left-leaning orientation. See [Am. Compl.

¶¶ 122 (Truth Social post stating: “Perhaps Harvard should lose its Tax Exempt Status and be

Taxed as a Political Entity if it keeps pushing political, ideological, and terrorist

inspired/supporting ‘Sickness?’”), 123 (Truth Social post stating: “Harvard has been hiring

almost all woke, Radical Left, idiots and ‘birdbrains’ [including former mayors Bill DeBlasio

and Lori Lightfoot] . . . Many others, like these Leftist dopes, are teaching at Harvard, and

because of that, Harvard can no longer be considered even a decent place of learning . . . and

should no longer receive Federal Funds.”), 127 (Press Release accompanying SEVP Records

Request stating: “With anti-American, pro-Hamas ideology poisoning its campus and

classrooms, Harvard’s position as a top institution of higher learning is a distant memory. . . .

This action follows President Donald J. Trump’s decision to freeze $2.2 billion in federal

funding to Harvard University, proposing the revocation of its tax-exempt status over its radical

ideology.” 19), 132 (Truth Social Post stating: “Harvard is an Anti-Semitic, Far Left

Institution . . . The place is a Liberal mess, allowing a certain group of crazed lunatics to enter

and exit the classroom and spew fake ANGER AND HATE.”), 134 (Public cabinet meeting

where President Trump said Harvard is “scamming the public and hiring people like [former

New York City Mayor Bill] DeBlasio and [former Chicago Mayor] Lori Lightfoot who are

certainly two of the worst mayors in the history of our country, paying them a fortune on salary,

and having them teach our children how to manage cities and how to manage government” and




19
     The full quote is from the cited exhibit, [ECF No. 1-17].
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“[t]he students [Harvard] ha[s], the professors [Harvard] ha[s], the attitude [Harvard] ha[s], is not

American”); ECF No. 1-21 at 2–3 (Letter from Secretary McMahon stating: “The Harvard

Corporation, which is supposed to competently and professionally manage Harvard's vast

academic, financial, and physical resources, is run by strongly left-leaning Obama political

appointee Penny Pritzker, a Democrat operative, who is catastrophic and running the institution

in a totally chaotic way. Harvard alumnus and highly successful hedge fund manager Bill

Ackman noted that, under her leadership, Harvard has become a ‘political advocacy organization

for one party.’”)]; Secretary Kristi Noem (@Sec_Noem), X (Jun. 1, 2025 at 12:00 PM ET)

(video of an interview on Fox News where Noem criticized Harvard because, among other

things, “communist and Marxist ideologies were allowed” on campus),

https://x.com/sec_noem/status/1929206429912600994?s=46&t=K9-SEzbtbhZp-Upq_A7fLg.

       As Vullo makes clear, President Trump and his advisers are free to make statements like

these criticizing Harvard for its perceived political viewpoints. “What [they] cannot do,

however, is use the power of the State to punish or suppress disfavored expression.” Vullo, 602

U.S. at 188. And the evidence suggests they were doing precisely that, including with regard to

the Proclamation. See [Am. Compl. ¶ 127 (SEVP records request press release); ECF No. 54-3

at 4 (White House spokesperson just prior to issuance of Proclamation stating: “The latest moves

against Harvard are truly just scratching the surface.”)]. Therefore, Harvard is likely to succeed

on the merits of its viewpoint discrimination claim.

                               v.     Equal Protection

       The Fifth Amendment prohibits deprivation of life, liberty, or property without due

process of law. U.S. Const. amend. V. This has been interpreted to require equal protection

under the law at the federal level. See Bolling v. Sharpe, 347 U.S. 497, 500 (1954).

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       Harvard’s equal protection claim is a class-of-one claim, Swanson v. City of Chetek, 719

F.3d 780, 784 (7th Cir. 2013), that is largely coextensive with its retaliation claims, see [ECF No.

57 at 31–33]. Notably, a “plaintiff ‘need only establish a likelihood of succeeding on the merits

of any one of [its] claims’” for a preliminary injunction to be granted. Richland/Wilkin Joint

Powers Auth. v. U.S. Army Corps of Eng’rs, 826 F.3d 1030, 1040 (8th Cir. 2016) (quoting Am.

Rivers v. U.S. Army Corps of Eng’rs, 271 F. Supp. 2d 230, 250 (D.D.C. 2003)). Given the

overlap, the Court reincorporates all of its prior reasoning, but otherwise leaves the Equal

Protection claim for later proceedings.

           C.      Immediate and Irreparable Harm

       “The loss of First Amendment freedoms unquestionably constitutes irreparable injury.”

Wagner v. City of Holyoke, 100 F. Supp. 2d 78, 82 (D. Mass. 2000), which could be the end of

this Court’s analysis. Nevertheless, the Court notes that Harvard has identified a plethora of

other immediate and irreparable harms that will result from the Proclamation. In terms of

immediacy, the Proclamation “comes just as summer students are arriving on campus and

students slated to start in the fall are procuring visas and finalizing their travel arrangements.”

[Am. Compl. ¶ 9]. Harvard’s inability to host these prospective visa holders would “halt

important research, hamper the educational experience for students left without teachers or

advisors, and deprive the community of medical care.” [Id. ¶ 213]. Additionally, “the loss of

certification [would] irreparably harm[] Harvard’s ability to compete with other institutions for

the most qualified applicants at home and abroad.” [Id. ¶ 214]. And even international students

and domestic students not affected by the Proclamation “have inquired about the possibility of

transferring to another institution.” [Id. ¶ 221]. Coupled with the First Amendment violation,

this is more than enough to satisfy the preliminary injunction standard.

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              D.      Balance of Equities and Public Interest

          It is axiomatic that “injunctions protecting First Amendment freedoms are always in the

   public interest.” Wis. Right To Life, Inc. v. Barland, 751 F.3d 804, 830 (7th Cir. 2014) (quoting

   ACLU v. Alvarez, 679 F.3d 583, 590 (7th Cir. 2012)); U.S. Navy Seals 1–26 v. Biden, 27 F.4th

   336, 353 (5th Cir. 2022); Pryor v. Sch. Dist. No. 1, 99 F.4th 1243, 1254 (10th Cir. 2024).

   Moreover, the Court notes that Harvard has specifically alleged significant harms to the public

   interest stemming from the loss of its international students, including consequences for STEM

   research and medical care in the community. [Am. Compl. ¶ 213]. And this is to say nothing of

   the impacts on the international students themselves, who are facing much disruption and

   uncertainty. [Id. ¶ 219]. As such, the Court finds that the balance of equities and public interest

   factors, which merge in a suit against the government, Nken, 556 U.S. at 435, easily favor

   Harvard.

              E.      Scope of the Injunction

          The Court notes, as it did at oral argument, that President Trump is not a party to this

   case. Thus, Defendants are enjoined from implementing, enforcing, instituting, maintaining, or

   in any way giving force or effect to the Proclamation.

IV.       CONCLUSION

          By necessity, this order discusses some abstract legal concepts, but it bears reminding

   that, at its root, this case is about core constitutional rights that must be safeguarded: freedom of

   thought, freedom of expression, and freedom of speech, each of which is a pillar of a functioning

   democracy and an essential hedge against authoritarianism. It may be that many of us, having

   grown up in a culture of free speech and thought, have become complacent, but free speech,

   particularly in the academic arena, must be zealously defended and not taken for granted. “The

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vigilant protection of constitutional freedoms is nowhere more vital than in . . . schools. The

classroom is peculiarly the ‘marketplace of ideas.’ The Nation’s future depends on leaders

trained through wide exposure to that robust exchange of ideas which discovers truth ‘out of a

multitude of tongues, (rather) than through any kid of authoritative selection.’” Tinker v. Des

Moines Indep. Cmty. Sch. Dist., 393 U.S. 503, 512 (1969) (quoting Shelton v. Tucker, 364 U.S.

479, 487 (1960)).

       Here, the government’s misplaced efforts to control a reputable academic institution and

squelch diverse viewpoints seemingly because they are, in some instances, opposed to this

Administration’s own views, threaten these rights. To make matters worse, the government

attempts to accomplish this, at least in part, on the backs of international students, with little

thought to the consequences to them or, ultimately, to our own citizens. As George Washington

said, if freedom of speech is taken away, then “dumb and silent we may be led, like sheep to the

slaughter.” George Washington, Address to the Officers of the Army (March 15, 1783),

Founders Online, https://founders.archives.gov/documents/Washington/99-01-02-10840.

Accordingly, for the reasons sets forth above, Plaintiff’s motion for a preliminary injunction is

GRANTED. Defendants and their officers, employees, servants, agents, appointees, and

successors are hereby enjoined from implementing, instituting, maintaining, or giving effect to

the Proclamation until a further order is issued by this Court.

       SO ORDERED.

June 23, 2025                                                  /s/ Allison D. Burroughs
                                                               ALLISON D. BURROUGHS
                                                               U.S. DISTRICT JUDGE




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